             Case 1:23-cr-00490-SHS Document 69 Filed 10/14/23 Page 1 of 1




                                                                                         SETH C. FARBER
                                                                                                       Partner
                                                                                                 212-294-4611
                                                                                         SFarber@winston.com


                                           October 14, 2023

VIA ECF
Hon. Sidney H. Stein
United States District Judge
Southern District of New York
500 Pearl Street, Courtroom 23A
New York, NY 10007

       Re:    United States v. Robert Menendez et al., Case No. 1:23-cr-00490-SHS

Dear Judge Stein:

       We write on behalf of defendant Senator Robert Menendez to request that the Court adjourn his
arraignment on the Superseding Indictment, presently scheduled for October 18, 2023 at 2:00 PM (D.E.
66, Order), until a time convenient for the Court on either Monday, October 23, 2023 or Monday, October
30, 2023.

       The reason for the requested adjournment is that Senator Menendez has previously scheduled
Senate business in Washington, D.C. on Wednesday, October 18, including anticipated Senate floor votes.
Accordingly, Senator Menendez respectfully requests that his arraignment be adjourned until either of the
dates noted above.

      We have conferred with the government, and AUSA Daniel Richenthal has informed us that the
government has no objection to this request.

       This is Senator Menendez’s first request for an adjournment of his arraignment on the Superseding
Indictment.

                                            Respectfully,



                                            Seth C. Farber


cc: All counsel (via ECF and Email)
